





















Opinion issued November 10, 2011.



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00604-CV

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RALPH E.
JOHNSON,
Appellant

V.

HARRIS
COUNTY, harris county department of education, port of houston authority of
harris county, harris county flood control district, harris county hospital
district, city of houston, houston independent school district, and houston
community college system, Appellees



&nbsp;



&nbsp;

On
Appeal from the 234th District Court

Harris
County, Texas



Trial
Court Cause No. 2008-34488

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Ralph E. Johnson, has neither established
indigence nor paid all the required fees.&nbsp;
See Tex. R. App. P.
5 (requiring payment of fees in civil cases unless indigent), 20.1 (listing
requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207,
51.941(a) (Vernon 2005), § 101.041 (Vernon Supp. 2010) (listing fees in court of
appeals); Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict
Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P.
app. A § B(1)
(listing fees in court of appeals).&nbsp;
After being notified that this appeal was subject to dismissal,
appellant did not adequately respond.&nbsp; See
Tex. R. App. P. 5 (allowing
enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Bland and Huddle.

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